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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 20-61872-CIV-SINGHAL/HUNT

    ALAN DERSHOWITZ,

          Plaintiff,

   v.

   CABLE NEWS NETWORK, INC.,

        Defendant.
   ______________________________________/
                                           ORDER

         THIS CAUSE is before the Court on Defendant Cable News Network, Inc.’s

   Motion for Summary Judgment (DE [213]). The matter is fully briefed, and the Court

   has heard argument of counsel.       For the reasons discussed below, the Motion

   for Summary Judgment is granted.

   I.    INTRODUCTION

         Plaintiff, Alan Dershowitz (“Dershowitz”), is a practicing criminal defense lawyer

   and professor emeritus at Harvard Law School. (DE [253]) ¶¶ 1, 3). In January 2020,

   Dershowitz represented then-President Donald J. Trump (“Trump”) in impeachment

   proceedings before the United States Senate. Id. ¶ 20, 22. Defendant, Cable News

   Network, Inc. (“CNN”) owns and operates news platforms, including the television network

   CNN and the website CNN.com. Id. ¶ 2.

         Dershowitz has sued CNN for defamation arising from reporting and commentary

   by CNN commentators on remarks Dershowitz made while testifying before the Senate

   during his representation of Trump. (DE [66]). Jurisdiction is based upon diversity of

   citizenship and Florida law governs. 28 U.S.C. § 1332(a). (DE [1]). CNN moves for

   summary judgment.
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   II.    LEGAL STANDARDS

          A.      Summary Judgment

          Pursuant to Fed. R. Civ. P. 56(a), summary judgment “is appropriate only if ‘the

   movant shows that there is no genuine [dispute] as to any material fact and the movant

   is entitled to judgment as a matter of law.’” Tolan v. Cotton, 572 U.S. 650, 656–57 (2014)

   (per curiam) (quoting Fed. R. Civ. P. 56(a)); 1 see also Alabama v. North Carolina, 560

   U.S. 330, 344 (2010). “By its very terms, this standard provides that the mere existence

   of some alleged factual dispute between the parties will not defeat an otherwise properly

   supported motion for summary judgment; the requirement is that there be no genuine

   issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). An

   issue is “genuine” if a reasonable trier of fact, viewing all the record evidence, could

   rationally find in favor of the nonmoving party in light of his burden of proof. Harrison v.

   Culliver, 746 F.3d 1288, 1298 (11th Cir. 2014). And a fact is “material” if, “under the

   applicable substantive law, it might affect the outcome of the case.” Hickson Corp. v. N.

   Crossarm Co., 357 F.3d 1256, 1259–60 (11th Cir. 2004). “[W]here the material facts are

   undisputed and do not support a reasonable inference in favor of the non-movant,

   summary judgment may properly be granted as a matter of law.” DA Realty Holdings,

   LLC v. Tenn. Land Consultants, 631 Fed. Appx. 817, 820 (11th Cir. 2015).

          The Court must construe the evidence in the light most favorable to the nonmoving

   party and draw all reasonable inferences in that party’s favor. SEC v. Monterosso, 756

   F.3d 1326, 1333 (11th Cir. 2014). However, to prevail on a motion for summary judgment,

   “the nonmoving party must offer more than a mere scintilla of evidence for its position;

   indeed, the nonmoving party must make a showing sufficient to permit the jury to


   1 The 2010 Amendment to Rule 56(a) substituted the phrase “genuine dispute” for the former “‘genuine
   issue’ of any material fact.”
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   reasonably find on its behalf.” Urquilla-Diaz v. Kaplan Univ., 780 F.3d 1039, 1050 (11th

   Cir. 2015). “[T]his, however, does not mean that we are constrained to accept all the

   nonmovant’s factual characterizations and legal arguments.” Beal v. Paramount Pictures

   Corp., 20 F.3d 454, 459 (11th Cir. 1994).

          B.     Defamation

          The parties agree that Florida law applies to this dispute. In Florida, a defamation

   claim has “five elements: (1) publication; (2) falsity; (3) actor must act with knowledge or

   reckless disregard as to the falsity on a matter concerning a public official…; (4) actual

   damages; and (5) statement must be defamatory.” Jews For Jesus, Inc. v. Rapp, 997

   So. 2d 1098, 1106 (Fla. 2008). A claim of defamation also requires a false statement of

   fact. Id. Statements of pure opinion are not actionable. Zambrano v. Devanesan, 484

   So. 2d 603, 606 (Fla. 4th DCA 1986). “The distinction between fact and opinion is not

   always easy to perceive.” Id. “Thus, the law recognizes that some comments may be

   pure expressions of opinion whereas others may be mixed expressions of opinion.” Id.

          A mixed opinion is one “based upon facts regarding a person or his conduct that

   are neither stated in the publication nor assumed to exist by a party exposed to the

   communication.” LRX, Inc. v. Horizon Assocs. Joint Venture ex rel. Horizon-ANF, Inc.,

   842 So. 2d 881, 885 (Fla. 4th DCA 2003). “Even if the speaker states the facts upon

   which he bases his opinion, if those facts are either incorrect or incomplete, or if his

   assessment of them is erroneous, the statement may still imply a false assertion of fact.

   Simply couching such statements in terms of opinion does not dispel these implications.”

   Milkovich v. Lorain Journal Co., 497 U.S. 1, 18-19 (1990).

          Whether a challenged statement is one of fact or opinion is a question of law to be

   decided by the court. Turner v. Wells, 879 F.3d 1254, 1262 (11th Cir. 2018). “In assessing


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   whether an allegedly libelous statement is opinion, the court must construe the statement

   in its totality, examining not merely a particular phrase or sentence, but all of the words

   used in the publication.”         Rasmussen, 946 So. 2d at 571 (citing Hay v. Indep.

   Newspapers, Inc., 450 So. 2d 293, 295 (Fla. 2d DCA 1984)).

   III.    UNDISPUTED FACTS

           Trump’s impeachment trial began on January 22, 2020. (DE [253] ¶ 22). The

   impeachment from the House of Representatives charged abuse of power and

   obstruction of Congress, arising from allegations that Trump withheld military funds from

   Ukraine to coerce Ukraine’s president to investigate Joe Biden, Trump’s political rival. Id.

   ¶ 19. CNN aired and live-streamed the trial in its entirety. Id. ¶ 23. The impeachment trial

   was covered by news media from around the world. Id. ¶ 24.

           Dershowitz spoke at the impeachment trial on January 27 and 29, 2020. Id. ¶¶ 26,

   28. During his second appearance, at approximately 2:10 p.m. EST, Senator Ted Cruz

   asked Dershowitz, “As a matter of law, does it matter if there was a quid pro quo? Is it

   true that quid pro quos are often used in foreign policy?” Id. ¶ 30. Dershowitz responded

   as follows:

               Yesterday, I had the privilege of attending the rolling-out of a peace
               plan by the President of the United States regarding the Israel-
               Palestine conflict, and I offered you a hypothetical the other day:
               What if a Democratic President were to be elected and Congress
               were to authorize much money to either Israel or the Palestinians and
               the Democratic President were to say to Israel, “No; I am going to
               withhold this money unless you stop all settlement growth” or to the
               Palestinians, “I will withhold the money Congress authorized to you
               unless you stop paying terrorists, and the President said, “Quid pro
               quo. If you don’t do it, you don’t get the money. If you do it, you get
               the money”? There is no one in this Chamber who would regard that
               as in any way unlawful. The only thing that would make a quid pro
               quo unlawful is if the quo were some way illegal.[2]


   2 Dershowitz complains CNN omitted this sentence (referred to herein as the “Illegal Quo Line”) from its
   clips and commentary.
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               Now, we talked about motive. There are three possible motives that
               a political figure can have: One, a motive in the public interest, and
               the Israel argument would be in the public interest; the second is in
               his own political interest; and the third, which hasn’t been mentioned,
               would be in his own financial interest, his own pure financial interest,
               just putting money in the bank. I want to focus on the second one for
               just one moment.

               Every public official whom I know believes that his election is in the
               public interest. Mostly, you are right. Your election is in the public
               interest. If a President does something which he believes will help
               him get elected—in the public interest—that cannot be the kind of
               quid pro quo that results in impeachment.[3]

               I quoted President Lincoln, when President Lincoln told General
               Sherman to let the troops go to Indiana so that they could vote for the
               Republican Party. Let’s assume the President was running at that
               point and it was in his electoral interests to have these soldiers put
               at risk the lives of many, many other soldiers who would be left
               without their company. Would that be an unlawful quid pro quo? No,
               because the President, A, believed it was in the national interest, but
               B, he believed that his own election was essential to victory in the
               Civil War. Every President believes that. That is why it is so
               dangerous to try to psychoanalyze the President, to try to get into
               the intricacies of the human mind.

               Everybody has mixed motives, and for there to be a constitutional
               impeachment based on mixed motives would permit almost any
               President to be impeached. Now, we may argue that it is not in the
               national interest for a particular President to get reelected or for a
               particular Senator or Member of Congress—and maybe we are right;
               it is not in the national interest for everybody who is running to be
               elected—but for it to be impeachable, you would have to discern that
               he or she made a decision solely on the basis of, as the House
               managers put it, corrupt motives, and it cannot be a corrupt motive if
               you have a mixed motive that partially involves the national interest,
               partially involves electoral, and does not involve personal pecuniary
               interest.[4]

               But a complex middle case is: I want to be elected. I think I am a great
               President. I think I am the greatest President there ever was, and if I
               am not elected, the national interest will suffer greatly. That cannot be
               an impeachable offense.[5]




   3 This paragraph contains what is referred to as the “Quid Pro Quo Argument.”
   4 This paragraph contains what is referred to as the “Sole Corrupt Motive Argument.”
   5 The last argument is referred to as the “Greatest President Argument.”

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   (DE [217], Ex. 12). The words “impeachable offense” were not included in the transcript

   in the Congressional Record, but the video recording of Plaintiff’s answer clearly contains

   those words. 6 Id. Ex. 13.

           Reaction to Dershowitz’ comments appeared almost instantaneously online. At

   2:15 p.m., the Washington Post live-blog coverage included a summary entitled

   “Dershowitz argues that a president is immune if he views his reelection as in the public

   interest.” (DE [219], Ex. 51). Within minutes 7, multiple Twitter users honed in on the

   comment “[i] If a President does something which he believes will help him get elected—

   in the public interest—that cannot be the kind of quid pro quo that results in impeachment”

   with derision and ridicule. (DE [219], Ex. 57).

           CNN’s account of Dershowitz’ testimony began at 2:36 p.m., when reporter Nikki

   Carvajal submitted a report titled, “Dershowitz argues that reelection of any politician is in

   the public interest, therefor as a motivation can’t be impeachable[.]” (DE [253], p. 25).

   The headline was revised a few minutes later to read “Alan Dershowitz argues

   presidential quid pro quos aimed at reelection are not impeachable.” Id. This account

   (the “CNN News Account”) was posted on CNN.com and was widely disseminated

   internally to CNN producers and on-air personalities. Id.




   6 Dershowitz disputes that the words “an impeachable offense” are clear on the video. The Court has

   reviewed the video and agrees with CNN that Dershowitz ended his statement with those words.
   7 For example, at 2:14 PM, Josh Rogin tweeted, “Dershowitz just argues that if Trump believed doing

   something corrupt was in the public interest because it would get him reelected, that makes it not corrupt.”
   At 2:18 PM, Robert Draper tweeted, “By Dershowitz’s logic, Nixon could not be impeached for instigating a
   cover-up of the Watergate burglary, since in Nixon’s view that public stood to benefit from his re-election
   (by any means necessary).” At 2:23 PM, Mo Elleithee tweeted similarly: “Using Dershowitz’s logic, couldn’t
   Nixon have justified that both the break-in and the cover-up of Watergate (which were both purely for his
   political interest) as ‘in the national interest’ and therefore not impeachable?” At 2:29, Garry Kasparov
   tweeted, “Wow, Dershowitz is actually making the King Louis XIV argument right now! Trump is good for
   the country, so anything he does to stay in power is the national interest, even if corrupt or illegal. That’s
   the language of every king & dictator: I am the end and the means justify me.” (DE [219] Ex. 57). Similar
   comments by others were posted after CNN’s first report was made.
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         Throughout the course of the evening of January 29, 2020, and the next morning,

   CNN broadcast and posted the accounts complained of by Dershowitz:

               "Having worked on about a dozen campaigns, there is always the
               sense that, boy, if we win, it's better for the country. But that doesn’t
               give you license to commit crimes or to do things that are unethical.
               So, it was absurd. What I thought when I was watching it was this is
               un-American. This is what you hear from Stalin. This is what you hear
               from Mussolini, what you hear from authoritarians, from Hitler, from
               all the authoritarian people who rationalized, in some cases genocide,
               based what was in the public interest.” – Joe Lockhart @ 7:11 p.m.,
               January 29, 2020.

                                                   ****

               “The President’s defense team [Dershowitz] seems to be redefining
               the powers of the President, redefining them towards infinity. . . . If
               you look at what he says there it blows your mind. He says if a
               President is running for re-election because he thinks getting elected
               will help America, he can do anything, anything. And that redefines
               the presidency and America.” – John Berman @ 6:17 a.m., January
               30, 2020.

                                                  ****

               “I did not go to Harvard Law, but I did go to the University of Texas
               School of Law, where I studied criminal law and constitutional law, but
               never dreamed a legendary legal mind would set them both ablaze
               on the Senate floor. The Dershowitz Doctrine would make presidents
               immune from every criminal act, so long as they could plausibly claim
               they did it to boost their re-election effort. Campaign finance laws: out
               the window. Bribery statutes: gone. Extortion: no more. This is Donald
               Trump's fondest figurative dream: to be able to shoot someone on
               Fifth Avenue and get away with it.” Paul Begala on CNN.COM,
               January 29, 2020 @ 9:11 p.m.

                                                  ***

               Anderson Cooper: I want to play what he said…. He is essentially
               saying any politician, because it is so important that they get elected
               … that they decide it’s really important for everybody that they are
               elected, they can do essentially whatever they want in order to get
               elected because it’s somehow in the public interest. Then Anne
               Milgram says: This view of the executive, the executive power that
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                  Dershowitz basically announced today would make the President a
                  king, it would put the President beyond the rule of law … and you and
                  I are talking about a quid pro quo here of exchanging, withholding
                  military aid but we could think of a lot of other things that there’s no
                  version you know, could you kill your opponent? Could you, you know,
                  leak dirt on someone? There’s countless … there’s no limit to
                  basically how badly behaved people could be and they can actually
                  commit crimes which we know, you know, Dershowitz is essentially
                  saying it doesn’t matter what the quid pro quo is as long as you think
                  you should be elected. (DE [66]).
          Dershowitz complained about CNN’s coverage and commentary on Twitter.

    (DE [253] ¶ 99. On January 30, 2020, Dershowitz appeared on CNN with Wolf Blitzer.

    (DE [219] Ex. 17). The next day he appeared on CNN again, this time with Chris Cuomo.

    On both shows he was interviewed about and discussed his response to Senator Cruz’

    question. Id., Ex. 20, 21. On Chris Cuomo’s show, Dershowitz was asked whether it is

    his “position that a president can do whatever they want to secure their reelection as

    long as they think it is in the good of the people?” Dershowitz responded, “Chris, you

    know that’s not my position…. I never said that. I never implied it. I never suggested it.

    CNN, MSNBC and many other networks deliberately and willfully distorted my words.”

    Id., Ex. 20, p. 10.

   IV.    DISCUSSION

          Dershowitz complains that he prefaced his remarks to the Senate by saying “[t]he

   only thing that would make a quid pro quo unlawful is if the quo were some way illegal,”

   but the edited clips omitted that qualification. (DE [66] ¶ 18). Dershowitz argues that

   CNN’s decision to omit the phrase, “the only thing that would make a quid pro quo

   unlawful is if the quo were somehow illegal,” was done “intentionally and deliberately with

   knowledge and malice to facilitate its ability to falsely claim that plaintiff said the opposite

   of what he actually said.” Id. ¶ 18. He contends that CNN “set in motion a deliberate


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   scheme to defraud its own audience … at the expense of [his] reputation.” Id. ¶ 11.

   Dershowitz alleges that if the entire clip had been played, no panel guest would have

   been able to credibly make the statements they did. Id. ¶ 9.

         CNN moves for summary judgment on the grounds that (1) Dershowitz cannot

   prove that CNN acted with actual malice; (2) the published statements were non-

   actionable expressions of pure opinion; and (3) Dershowitz cannot prove damages.

   Because Dershowitz is a public figure, he must establish by clear and convincing

   evidence that CNN acted with actual malice. Turner, 879 F.3d at 1273; Gertz v. Robert

   Welch, Inc., 418 U.S. 323 (1974). “This is a subjective test, focusing on whether the

   defendant ‘actually entertained serious doubts as to the veracity of the published account,

   or was highly aware that the account was probably false.’” Turner, 879 F.3d at 1273

   (quoting Michel v. NYP Holdings, Inc., 816 F.3d 686, 702-03 (11th Cir. 2016) (quoting

   New York Times Co. v. Sullivan, 376 U.S. 254, 280 (1964))). In cases such as this that

   involve “the area of tension between” the First Amendment and state defamation law,”

   the question is whether the evidence in the record could “constitutionally support a

   judgment for the plaintiff.” Time, Inc. v. Pape, 401 U.S. 279, 284 (1971). For the reasons

   that follow, the evidence before the Court—while establishing foolishness, apathy, and

   an inability to string together a series of common legal principles—does not establish

   actual malice under the Sullivan standard.

         This record contains no proof that any of CNN’s commentators or producers either

   entertained “serious doubts as to the veracity” of the reports or were “highly aware that

   the account was probably false.” Rather, CNN has produced undisputed evidence that

   each of the challenged publications were individually edited and produced; there was no

   scheme to “falsely paint Dershowitz as a constitutional scholar and intellectual who had


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   lost his mind.” (DE [66] ¶ 8). The producers and hosts responsible for each of the four

   clips at issue all testified that they considered Dershowitz’ comments newsworthy; they

   did not consider the Illegal Quo Line as a qualification or alteration of the Public Interest

   Argument; and they believed the clips as presented were fair and accurate. See (DE

   [214]) ¶¶ 41-49; 59-67; 74-81; 82-91). Dershowitz has not produced any evidence to

   contradict this.

             Dershowitz disputes the credibility of the witness’ testimony as “scripted and self-

   serving.” This is not a proper factual or legal response to an asserted statement of

   undisputed fact. As the non-moving party, Dershowitz must present evidence from which

   a jury could reasonably rule in his favor. Simply stating the evidence is “scripted and self-

   serving” does not meet that burden.

             Dershowitz argues that a jury could reasonably rule in his favor because CNN had

   notice of Dershowitz’ actual views on impeachment but failed to include them. Two days

   earlier, on January 27, 2020, Dershowitz told the Senate that “a crime or crime-like

   conduct is necessary for impeachment.” But when Dershowitz spoke on January 29,

   2020, he did not qualify his statements with what he said two days earlier; 8 CNN’s failure

   to add a two-day old qualification is not evidence that would show actual malice. To the

   contrary, the evidence shows that CNN’s decisionmakers considered Dershowitz’

   January 29 Corrupt Motive and Greatest President arguments to be new and newsworthy

   arguments against impeachment.               There is no evidence that would contradict that

   conclusion.

             As CNN aptly argued during the hearing on this case, there is no requirement

   under the First Amendment for a reporter to talk about everything Dershowitz has ever



   8   CNN argues that Dershowitz “never said a crime was always impeachable.” (DE [263], p. 16).
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   said about impeachment or even all the various ways one can be impeached. See Miami

   Herald Publishing Co. v. Tornillo, 418 U.S. 241 (1974) (overturning a Florida statutory

   requirement of a right of reply by criticized persons). Thus, CNN’s subjective view of

   Dershowitz’ January 29 statements as new and newsworthy and different from his

   January 27 statements is what matters under the Sullivan standard. Sullivan was decided

   in 1964 when Justice Brennan created the actual malice standard, and is a great example

   of how bad facts can contribute to the making of unnecessary law, and why judges and

   Justices should not be in the business of policy writing.

          Policy-based judicial opinions have had a twisted history in American

   jurisprudence.   Some rulings are just ridiculously bad despite what common sense

   demands and what the author may have thought. See Dred Scott v. Sanford, 60 U.S. 393

   (1857). Other decisions cause deep-rooted political and emotional turmoil by creating a

   “Constitutional right” that others then believe in, that isn’t anywhere in the U.S.

   Constitution. See Roe v. Wade, 410 U.S. 113 (1973). And in the case of New York Times

   v. Sullivan, the United States Supreme Court’s holding—while laudable in a different

   era—that the First Amendment requires public figures to establish actual malice simply

   has no basis in and “no relation to the text, history or structure of the Constitution, and it

   baldly constitutionalized an area of law refined over centuries of common law

   adjudication.” Tah v. Global Witness Publishing, Inc., 991 F.3d 231, 251 (D.C. Cir. 2021)

   (Silberman, J. dissenting). But when judges write policy, the people expect them to keep

   doing so. And when times change and media delivery and access changes like it has

   over the past 60 years, the people wrongly look to the courts and not the legislature to fix

   what the courts themselves created. For this reason, these policy-based decisions are

   best left to the legislative branch, which is elected by the will of the people, and not to an


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   un-elected judge who may be King or Queen for a day (or a lifetime). As many judges

   have previously noted, judicially created “doctrines” are typically cut from whole cloth. Id.

            In Sullivan, an advertisement containing false information was published in the

   New York Times. In total the circulation of the paper in the entire state of Alabama—

   where the concerned parties’ alleged injury occurred—was 394 copies. The Alabama

   court after a jury trial awarded the plaintiff $500,000 9 in damages. Perhaps had the trial

   court carefully addressed the damages issue, Sullivan never would have been written.

   Instead, any tension between the First Amendment (freedom of speech) and the Seventh

   Amendment (right to jury trial) was put to rest in the public figure defamation context. The

   Sullivan case, decided at a time when people got their news from Walter Cronkite or David

   Brinkley as opposed to Twitter, is the law of the land and this Court is duty bound to follow

   it. 10

            It is understandable why Dershowitz brings this case. Once Dershowitz responded

   to Senator Cruz’ question, reporters and commentators from around the globe ran with

   his answer in today’s “race to publish” world and spoke about his January 29 comments

   without contextualizing the comments with what had been said on January 27, and

   without any reference to impeachment law. And again, they were not required by law to

   do so. Yet, Paul Begala (after curiously stating that he went to law school) said the

   “Dershowitz Doctrine would make Presidents immune from every criminal act.”                             Of

   course, Dershowitz said nothing of the kind, there is no Dershowitz Doctrine, and as most

   law students know, reading a brief doesn’t tell you about the whole case. Joe Lockhart



   9 In today’s dollars, the judgment in Sullivan would exceed $4.7 million. Federal Reserve Bank of
   Minneapolis, INFLATION CALCULATOR, (April 4, 2023, 2:05 p.m., https://www.minneapolisfed.org/abuot-
   us/monetary-policy/inflation-calculator.
   10For an excellent discussion on Sullivan, albeit one written nearly forty years ago, one need only look to
   Richard A. Epstein, “Was New York Times v. Sullivan Wrong?” 53 University of Chicago Law Review 782
   (1986).
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   said Dershowitz okayed “commit[ting] crimes.” John Berman said Dershowitz advocated

   that a President could “do anything, anything.”                   Anderson Cooper reported that

   Dershowitz said “they can actually commit crimes.” All this in the context of an answer to

   Senator Cruz’ question, but none of it as the be all and end all on impeachment law

   analysis. Not one commentator reflected on whether Dershowitz’ January 27 arguments

   or the law on impeachment regarding high crimes and misdemeanors 11 would invalidate

   any of their commentary.

           And as Alexander Hamilton famously noted 235 years ago when discussing the

   concept of impeachment:

                   The subjects of its jurisdiction are those offenses which proceed
                   from the misconduct of public men, or, in other words, from the
                   abuse or violation of some public trust. They are of a nature which
                   may with peculiar propriety be denominated POLITICAL, as they
                   relate chiefly to injuries done immediately to the society itself.

   THE FEDERALIST No. 65 (Alexander Hamilton). 12 (emphasis in the original). This too was

   not something CNN or any other network was required to report, and, indeed, it appears

   was not something considered. For Dershowitz’ part, it was not responsive to Senator

   Cruz’ specific quid pro quo question, so he didn’t mention it either. But Sullivan and its

   progeny allows the news media to ignore a fuller context because there is no record

   evidence of actual malice. Dershowitz tries to identify actual malice through the text of

   his comments; he argues that on January 29 he “repeated his view that a quid pro quo

   arrangement with a foreign leader was impeachable if it involved unlawful, illegal or

   corrupt – in other words – criminal conduct,” and that was enough for CNN and its

   commentators to doubt the veracity of their comments. (DE [252] p. 10). But the transcript


   11U.S. Constitution Art. II, Sec. 4.
   12The Court prefers the edition of THE FEDERALIST edited by Professor Benjamin F. Wright (Barnes & Noble
   ed., 2004). What an additional irony it would be if Professor Wright while at University of Texas Law School
   actually taught Begala’s Constitutional Law class.
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   and video of Dershowitz’ response does not include this statement, nor does it tie any

   such qualification to a quid pro quo done to protect the president’s own political interest.

   Indeed, Dershowitz specifically focused only on the president’s own political interest

   scenario:


               Now, we talked about motive. There are three possible motives that
               a political figure can have: One, a motive in the public interest, and
               the Israel argument would be in the public interest; the second is in
               his own political interest; and the third, which hasn’t been mentioned,
               would be in his own financial interest, his own pure financial interest,
               just putting money in the bank. I want to focus on the second one for
               just one moment.

               Every public official whom I know believes that his election is in the
               public interest. Mostly, you are right. Your election is in the public
               interest. If a President does something which he believes will help him
               get elected—in the public interest—that cannot be the kind of quid pro
               quo that results in impeachment. (DE [217] Ex. 12) (emphasis added).

   Dershowitz focused on the political interest motive; CNN’s commentators did too. The

   text of Dershowitz’ January 29 statement does not support a finding that CNN acted with

   actual malice.

          Dershowitz contends that CNN’s reporting of his Senate comments violated the

   Society of Professional Journalists Code of Ethics, which he claims calls for journalism to

   be accurate and fair, provide context, and should not oversimplify or distort facts or

   context. (DE [253] Ex. 28).        In support, Dershowitz submitted an unauthenticated

   documented entitled “SPJ Code of Ethics.” He cites Murphy v. Boston Herald, Inc., 865

   N.E.2d 746, 765-66 (Mass. 2007) for support for his argument that evidence of breach of

   the Code can be considered in determining whether CNN acted with actual malice. He

   also notes that this Court has already determined that CNN’s account was not accurate

   and fair.



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          The Court need not consider the Code of Ethics in this case. First, unlike the

   plaintiff in Murphy, Dershowitz has not presented expert testimony to explain how CNN’s

   conduct fell below the standard of care for journalists. Neither Dershowitz nor this Court

   is qualified to opine on journalistic ethics. Second, the Code of Ethics itself specifically

   states that “[i]t is not, nor can it be under the First Amendment, legally enforceable.”

   (DE [253] Ex. 28). See Harte-Hanks Communications, Inc. v. Connaughton, 491 U.S.

   657, 666 (1989) (“public figure libel cases are controlled by the New York Times standard

   and not by the professional standards rule”). Third, the Court’s Order (DE [28]) on CNN’s

   Motion to Dismiss held that Florida’s fair report privilege did not apply. The fair report

   privilege doctrine is a defense to defamation; it does not establish actual malice (but it is

   a doctrine). This Court never held that CNN’s broadcasts violated professional standards.

   The Code of Ethics has no evidentiary value on the issue of actual malice.

          Next Dershowitz argues that CNN had a “preexisting story line” in its “News

   Account” that would support a finding of actual malice. Evidence of a “story line” can show

   actual malice where “a defendant conceived a story line in advance of an investigation

   and then consciously set out to make the evidence conform to the preconceived story.”

   Harris v. City of Seattle, 152 Fed. Appx. 565, 568 (9th Cir. 2005) (quoting       RODNEY A.

   SMOLLA, 1 LAW OF DEFAMATION § 3:67 (2005)).

          The evidence in the record does not support a conclusion that CNN ran a “story

   line” that would establish actual malice.         There was nothing “created” to fulfill a

   preconceived narrative; Dershowitz’ statement was played in full and then subjected to

   independently developed commentary throughout the day and following morning. CNN

   producers identified the “angle” of the days’ story to be the political interest motive for a

   quid pro quo (DE [253] ¶¶ 8-24). The producers and the on-air personalities involved in


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   the disputed comments independently identified the political interest motive as new and

   newsworthy. (DE [214] ¶¶ 42-76). Nothing in the “angle” or the “News Account” gives rise

   to the conclusion that any of the speakers had reason to doubt the veracity of their

   statements.    Dershowitz has not complained that the initial “News Account” was

   defamatory and, further, not all the decisionmakers or speakers (including Lockhart,

   Milgram, and Harman) were included on the distribution. (DE [264]). Even considering

   the evidence in the light most favorable to Dershowitz, there was no issue of fact arising

   from the creation of a “story line” from which actual malice could be inferred.

          Dershowitz cites an email between John Berman and his producer as evidence of

   actual malice. It is not. First, Dershowitz’ claim that Berman cites a “made up quotation”

   is patently false. The words -- “I want to be elected. I think I am a great President. I think

   I am the greatest President there ever was, and if I am not elected, the national interest

   will suffer greatly. That cannot be an impeachable offense” – were included in Berman’s

   email to a producer. (DE [253] Ex. 22). Dershowitz claims it was “made up” but this

   quotation accurately reports Dershowitz’ closing words to the Senate. (DE [217] Ex. 13).

   It is not a “made up quotation.” Second, the subject line of the e-mail – “Dersh-o-

   nuts…need this for all panels” – establishes foolishness but does not support a finding of

   constitutional actual malice. Personal animosity does not establish actual malice. Dunn

   v. Air Line Pilots Ass’n, 193 F.3d 1185, 1198 (11th Cir. 1999) (“ill-will, improper motive, or

   personal animosity plays no role in determining whether a defendant acted with actual

   malice”). Additionally, Berman testified that he was characterizing Dershowitz’ argument

   and he did not bear any ill will towards Dershowitz. (DE [216] Ex. 6, pp. 154-157).

   Berman’s email does not support a finding of actual malice.




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          Finally, Dershowitz argues that Paul Begala admitted that his statements about the

   Dershowitz Doctrine were false. In his post on CNN.com, Begala stated:

                 The Dershowitz Doctrine would make Presidents immune from
                 every criminal act, so long as they could plausibly claim they did
                 it to boost their reelection effort. Campaign finance laws: Out the
                 window. Bribery statutes: Gone. Extortion: No more. This is
                 Donald Trump’s fondest dream, to literally be able to shoot
                 someone on Fifth Avenue and get away with it.

   Dershowitz claims that Begala stated in deposition that, “He [Dershowitz] didn’t say

   anything like that” and, therefore, Begala presented known falsity. But Begala’s actual

   answer explained: “I’m not quoting Professor Dershowitz. He didn’t say anything like that,

   but what I’m saying is the argument he [laid] out will be abused to justify all manner of

   things by politicians seeking their reelection. I don’t say Dershowitz says this. I say this is

   a doctrine that would do this. I think it’s an important distinction.” (DE [216] Ex. 5 pp. 105-

   06). The irony that Begala is the first person to “abuse” the doctrine he created but labeled

   with Dershowitz’ name is not lost on this Court, but Dershowitz is clearly wrong in stating

   that Begala admitted speaking falsely. This is not evidence of actual malice.

          It is undisputed that Dershowitz’ statements were thoroughly newsworthy. Speech

   on the floor of the United States Senate during a president’s impeachment trial ranks near

   the top of the scale of political speech. In this “information age” of instant communication,

   immediate and intense analysis is sure to follow any such speech. And it did. Begala

   issued comments over social media from an airplane! The record shows that mainstream

   media outlets, foreign media outlets, and private social media users highlighted and

   commented upon Dershowitz’ arguments. (DE [219], Ex. 50, 51, 54, 55, 56, 57, 77, 78).

          Dershowitz complains that he was defamed by the way CNN covered his

   arguments. The blurring of the distinction between “news” and “commentary” fosters

   sympathy for Dershowitz’ position. Dershowitz’s Complaint raised important issues and

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   this Court determined at the motion to dismiss stage that Dershowitz should have the

   opportunity to develop evidence that would show that CNN’s reporting met the New York

   Times v. Sullivan standard of actual malice. After full discovery, extensive briefing, and

   oral argument, the Court concludes that he has not. Accordingly, it is hereby

         ORDERED        AND      ADJUDGED          that   CNN’s   Motion    for    Summary

   Judgment (DE [213]) is GRANTED. Pursuant to Fed. R. Civ. P. 58, a separate final

   judgment will be entered. The Clerk of Court is directed to CLOSE this case and

   DENY AS MOOT any pending motions.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 4th day of

   April 2023.




   Copies furnished counsel via CM/ECF




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